                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA

 UNITED STATES OF AMERICA                              )
                                                       )       Case No. 1:12-cr-94
                                                       )
 v.                                                    )
                                                       )       MATTICE / LEE
 VICKI HARDIN                                          )


                              REPORT AND RECOMMENDATION

        Pursuant to 28 U.S.C. § 636(b), I conducted a plea hearing in this case on June 27, 2013.

 At the hearing, defendant moved to withdraw her not guilty plea to Count One of the eleven-count

 Indictment and entered a plea of guilty to the lesser included offense of the charge in Count One,

 that is of conspiracy to manufacture and distribute five grams or more of methamphetamine (actual),

 a Schedule II controlled substance, in violation of 21 U.S.C. §§ 846, 841(a)(1), and 841(b)(1)(B)

 in exchange for the undertakings made by the government in the written plea agreement. On the

 basis of the record made at the hearing, I find the defendant is fully capable and competent to enter

 an informed plea; the plea is made knowingly and with full understanding of each of the rights

 waived by defendant; the plea is made voluntarily and free from any force, threats, or promises,

 apart from the promises in the plea agreement; the defendant understands the nature of the charge

 and penalties provided by law; and the plea has a sufficient basis in fact.

        Therefore, I RECOMMEND defendant’s motion to withdraw her not guilty plea to Count

 One of the Indictment be granted, her plea of guilty to the lesser included offense of the charge in

 Count One, that is of conspiracy to manufacture and distribute five grams or more of

 methamphetamine (actual), a Schedule II controlled substance, in violation of 21 U.S.C. §§ 846,

 841(a)(1), and 841(b)(1)(B) be accepted, the Court adjudicate defendant guilty of the lesser included




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 offense of the charge in Count One of the Indictment, that is of conspiracy to manufacture and

 distribute five grams or more of methamphetamine (actual), a Schedule II controlled substance, in

 violation of 21 U.S.C. §§ 846, 841(a)(1), and 841(b)(1)(B), and a decision on whether to accept the

 plea agreement be deferred until sentencing. Defendant's bond was revoked and I further

 RECOMMEND defendant remain in custody until sentencing in this matter.. Acceptance of the

 plea, adjudication of guilt, acceptance of the plea agreement, and imposition of sentence are

 specifically reserved for the district judge.



                                                 s/ Susan K. Lee
                                                 SUSAN K. LEE
                                                 UNITED STATES MAGISTRATE JUDGE


                                        NOTICE TO PARTIES

          You have the right to de novo review of the foregoing findings by the district judge. Any
 application for review must be in writing, must specify the portions of the findings or proceedings
 objected to, and must be filed and served no later than fourteen days after the plea hearing. Failure
 to file objections within fourteen days constitutes a waiver of any further right to challenge the plea
 of guilty in this matter. See 28 U.S.C. §636(b).




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